              Case 4:23-cv-00034-LPR Document 16 Filed 08/31/23 Page 1 of 2




                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF ARKANSAS
                                        CENTRAL DIVISION

MOUNT VERNON FIRE                              )
INSURANCE COMPANY,                             )
                                               )
                    Plaintiff,                 )
                                               )
         v.                                    )       Case No. 4:23CV-00034-LPR
                                               )
TC’S MIDTOWN GRILL NORTH,                      )
INC. D/B/A TC’S MIDTOWN GRILL;                 )
et al.                                         )
                                               )
                    Defendants.                )


         NOTICE TO TAKE VIDEOTAPED DEPOSITION OF GERALD THOMAS
                              COLCLASURE

TO:                                     ALL COUNSEL OF RECORD

PERSON TO BE DEPOSED:                   GERALD THOMAS COLCLASURE

DATE AND TIME:                          October 13, 2023 at 10:00 a.m.

LOCATION OF DEPOSITION:                 Anderson Murphy Hopkins
                                        101 River Bluff Drive, Suite A
                                        Little Rock, Arkansas 72202-2267

COURT REPORTER:                         Lexitas
                                        800-280-3376

         PLEASE TAKE NOTICE that at the above date and hour, Plaintiff, shall cause the

aforementioned deposition to be taken upon oral examination before a court reporter with Lexitas

(800-280-3376), who is authorized to administer oaths. The deposition will be videotaped by a

representative from Lexitas (800-280-3376).

         Any party or their attorney may appear and participate as they see fit. The deposition will

begin on the date and hour referenced above.




4861-8210-6749v.1
            Case 4:23-cv-00034-LPR Document 16 Filed 08/31/23 Page 2 of 2




                                             Respectfully submitted,



                                             HALL BOOTH SMITH, P.C.

                                             Todd Wooten (ABN 94034)
                                             200 River Market Avenue, Suite 500
                                             Little Rock, AR 72201
                                             Telephone: 501-435-3190
                                             Fax: 501-604-5566
                                             Email: twooten@hallboothsmith.com

                                             BAKER STERCHI
                                             COWDEN & RICE, LLC

                                             Scott D. Hofer
                                             (Admitted in E.D. Ark. / MO #44587)
                                             Kevin D. Brooks
                                             (Admitted in E.D. Ark. / MO #57627)
                                             1200 Main Street, Suite 2200
                                             Kansas City, MO 64105
                                             (816) 472-7474
                                             (816) 472-6262 (Fax)
                                             Email: shofer@bakersterchi.com
                                             Email: kbrooks@bakersterchi.com
                                             Attorneys for Plaintiff

                              CERTIFICATE OF SERVICE

       I hereby certify that, on August 31, 2023, the foregoing was served to all counsel of record
via email.

                                             /s/ Kevin D. Brooks
                                             Attorney for Plaintiff




                                                 2
4861-8210-6749v.1
